 

y 7 Case: 1:09-cr-00115 Document #: 1 Filed: 02/10/09 Page 1 of 15 PagelD #:1

we . LU

AO 91 (REV.6/85) Criminal Complaint AUSA Steven J. Dollear (312) 353-5359
AUSA Joseph H. Thompson (312) 469-6131

 

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

UNITED STATES OF AMERICA
CRIMINAL COMPLAINT

CASE NUMBER: MAGISTRATE JUDGE COLE

O9(R 0115

|, the undersigned complainant, being duly sworn on oath, state that the following is true and correct to the best of my

¥.

RONALD HADDAD, JR.

knowledge and belief: On or about January 26, 2009, at approximately 3:23 p.m., at Cook County, in the Northern District
of Illinois, Eastern Division RONALD HADDAD, JR. defendant herein:

through the use of the telephone or other instrument of interstate or foreign commerce, willfully made a threat
to kill, injure, or intimidate any individual;

in violation of Title 18, United States Code, Section 844(e). | further state that | arn a Special Agent with the Federal Bureau
of Investigation, and that this complaint is based on the facts contained in the Affidavit which is attached hereto and

ignature of Complalnant
ADAM SCHOLTZ
Special Agent, Federal Bureau of investigation

incorporated herein.

  

Sworn to before me and subscribed in my presence,

February 10, 2009
Date

JEFFREY COLE, U.S. Magistrate Judge
Name & Title of Judicial Officer

 

 

FEB 10 2009 TC
© 2009

=
MICHAEL W. DOBBINS
CLERK, U.S. DISTRICT COURT

 

 
 

Case: 1:09-cr-00115 Document #: 1 Filed: 02/10/09 Page 2 of 15 PagelD #:2

State of Illinois )

County of Cook )
AFFIDAVIT

I, Adam B. Scholtz, Special Agent with the Federal Bureau of Investigation (“FBI”), Chicago,
Illinois, being duly sworn under oath, state as follows:

1. Tam a Special Agent employed with the Federal Bureau of Investigation ("FBI"). Ihave been
employed by the FBI since April 2004. I am presently detailed to a domestic terrorism squad
operating within the Joint Terrorism Task Force of the Chicago Division of the FBI that is charged
with investigating any and all acts of terrorism including violations relative to weapons of mass
destruction and other domestic terrorism matters. I have received specialized training in the
investigation of terrorism-related offenses, including offenses related to mailings in which threats
of injury or death are made to another individual in violation of Title 18, United States Code, Section
 844(e).

2. This affidavit is made for the limited purpose of supporting a warrant for the arrest of
RONALD HADDAD, JR. (“HADDAD”). [have not stated every detail of the investigation which
is known to me, but have provided facts to establish probable cause in support of the arrest warrant
for HADDAD related to a violation of Title 18, United States Code, Section 844(e).

3. The facts set forth in this affidavit are based on my own personal knowledge, information
obtained from other individuals during my participation in this investigation, including other FBI
Special Agents and other federal, state and local law enforcement officers, interviews of witnesses,
and my review of reports, documents and computer records related to this investigation. Because
of the limited purpose of this affidavit, it does not contain all information that is known to law
enforcement regarding this investigation.

4, Title 18, United States Code, Section 844(e) states in pertinent part that:

Whoever, through the use of the mail ... or other instrument of interstate or
foreign commerce .. . willfully makes any threat, or maliciously conveys
false information knowing the same to be false, concerning an attempt or
alleged attempt being made, or to be made, to kill, injure, or intimidate any
individual or unlawfully to damage or destroy any building, vehicle, or other
real or personal property by means of fire or an explosive shall be imprisoned
for not more than 10 years or fined under this title, or both.

I. MARY OF THE INV. ATION

5. As explained in more detail below, I have learned that between approximately December
2007 and January 2009, RONALD HADDAD, JR. (“HADDAD”) has sent over 25 envelopes,
packages, and emails to various individuals intending to intimidate and threaten those individuals
and others. More specifically, some of these envelopes, packages, and emails contain written threats

 
 

 

Case: 1:09-cr-00115 Document #: 1 Filed: 02/10/09 Page 3 of 15 PagelD #:3

of injury or death to individuals. Certain other envelopes and packages contain shotgun shells that
HADDAD unsuccessfully attempted to detonate upon the addressee’s opening the letter or package.

IL. CKG D REGARDING COMPUTERS, THE I RNET AND EMA

6. 1 have both training and experience in the investigation of computer crimes. Based on my
training, experience, and knowledge, I know:

a The Internet is a network of computers and computer networks which are connected
to one another via high-speed data links and telephone lines for the purpose of
sharing information. Connections between Internet computers exist across state and
international borders. Information sent between computers connected to the Internet
frequently crosses state and international borders, even if those computers are in the
same state.

b. Internet Service Providers (“ISPs”) are commercial organizations that are in business
to provide individuals and businesses access to the Internet. ISPs provide a range of
functions for their customers including access to the Internet, web hosting, e-mail,
remote storage, and co-location of computers and other communications equipment.
ISPs can offer a range of options in providing access to the Internet, including
telephone-based dial-up, broadband-based access via digital subscriber line (“DSL”)
or cable television, dedicated circuits, or satellite based subscription. ISPs typically
charge a fee based upon the type of connection and volume of data, called bandwidth,
that the connection supports. Many ISPs assign each subscriber an account name -
auser name or screen name, an “e-mail address,” an e-mail mailbox, and a personal
password selected by the subscriber. By using a computer equipped with a modem,
the subscriber can establish communication with an [SP over a telephone line,
through a cable system or via satellite, and can access the Internet by using his or her
account name and personal password. ISPs maintain records (“ISP records”)
pertaining to their subscribers (regardless of whether those subscribers are
individuals or entities), These records may include account application information,

- subscriber and billing information, account access information (often times in the
form of log files), e-mail communications, information concerning content uploaded
and/or stored on or via the ISP’s servers, and other information, which may be stored
both in computer data format and in written or printed record format.

c. An Internet Protocol Address (“IP address”) is a unique numeric address used to
identify computers on the Internet. Every computer connected to the Internet (or
group of computers using the same account to access the Internet) must be assigned
an IP address so that Internet traffic sent from and directed to that computer is
directed properly from its source to its destination. An IP address looks like a series
of four numbers, each in the range 0-255, separated by periods (e.g. 121.56.97.178)

 

 
 

 

Case: 1:09-cr-00115 Document #: 1 Filed: 02/10/09 Page 4 of 15 PagelD #:4

and is typically assigned to customers by ISPs. An ISP might assign a different IP
address to a customer each time the customer makes an Internet connection (so-called
“dynamic IP addressing”), or it might assign an IP address to a customer permanently
or for a fixed period of time (so-called “static IP addressing”), Either way, the IP
address used by a computer attached to the Internet must be unique for the duration
of a particular session: that is, from connection to disconnection. ISPs typically log
their customers’ connection, which means that ISPs can, for a period of time, identify
which of their customers was assigned a specific IP address during a particular
session,

d. The domain name identifies a computer or group of computers on the Internet, and
corresponds to one or more IP addresses assigned to those computers. Domain
names are typically strings of alphanumeric characters, with each “level” of the
domain delimited by a period (e.g,, Computer.networklevel1 networklevel2.com).
Domain names are used to make finding and accessing network resources easier and
to limit the need for end-users to know specific IP addresses assigned to a particular
resource (e.g. The IP address for “abc company” may be 10.47.53.126, while the
corresponding domain name an end-user would only have to know might be
www.abccompany.com).

Tl. SUMMARY OF THE EVIDENCE

A, December 2007 Letters

7. On or about December 17 and 18, 2007, envelopes were sent to 5 different individuals in
Chicago, who at the time were all elected government officials in either the City of Chicago or Cook
County government. Each of the envelopes was addressed to and received at an address utilized by
each individual. The following chart shows the envelope number’, the date it was received, the listed
addressee, and the listed return address:

 

# | Date Received | Addressee Return Address

 

1 | 12/17/2007 Edward Burke Horizon Gaming Events Nat’l,
6500 Pearl, Rosemont, IL
(“Horizon Address”)

2 | 12/17/2007 Bernard L, Stone Horizon Address
3 | 12/18/2007 Richard M. Daley Horizon Address

 

 

 

 

 

 

 

 

 

'For ease of reference, | have assigned a number to each letter or package discussed in
this affidavit.
 

_.

 

Case: 1:09-cr-00115 Document #: 1 Filed: 02/10/09 Page 5 of 15 PagelD #:5

 

 

 

 

 

 

 

 

4 | 12/18/2007 John Daley 27" Ward Office
1463 W. Chicago, Ave.
Chicago, IL 60622
(“27" Ward Address”)
5 | 12/18/2007 Todd Stroger 27" Ward Address
8. Each of these envelopes contained the same materials: one handwritten letter, one typed

letter, a newspaper clipping and a white powder. The white powder was later submitted to the FBI
Forensics lab in Quantico, Virginia (“FBI Lab”) and was identified to be a mixture of calcium
hydroxide and calcium carbonate. According to FBI Lab personnel, a commercial product that uses
this mixture of substances is landscaping lime. Moreover, the newspaper clipping contained in each

envelope was titled "Jax Day is every day in Chicago" by Gary Washburn, Chicago Tribune.
9. The handwritten letters in each envelope appeared identical in that they seem to be written

using 4 paint brush in block-style lettering and contained the following text:

10,

“COOK COUNTY TAX RAISE FALLS 2007 AND WILL FALL AGAIN, CHICAGO
PEOPLE DON'T DESERVE TO BE TAXED MORE & TREATED WORSE THAN
OTHERS AND OTHER PLACES AND WONT LET DALEYS TAX ATTACK GOON OR
REMAIN IN CHICAGO, COOK COUNTY, OR ILLINOIS. THIS IS NOT DALEY
COUNTRY. THIS IS THE END OF DALEY AND HIS EMPIRE"

The typed letters contained in each the envelopes received on December 17 and 18, 2007

appeared identical and contained the following text:

"YOU TOO ARE GOING TO BE FORCED TO LEAVE YOUR HOME AND HAVE TO
START OVER, JUST LIKE SO MANY OF US YOU FORCED TO LEAVE AND START
OVER. For whatever or whoever is left of you assholes, here is what is going to happen if
‘survival’ is an instinct you possess. You are going to roll back the past four tax raises

in Chicago and erase the proposed county tax raise and pack up all of your things and get
the fuck out of here. This tax raise of yours in Chicago was your "Holidays 2007’ gift to
us in November 2007 and now it is time for payback and to whoever is left, you can
expect any victory you gain in screwing us, to be as much of a burden as or worse to you than
defeat in that context because we will never let you enjoy the fruits of this kind of labor that
is meant to fuck us people over and out of our money. Do that instead of leaving office
peacefully and whatever and whoever is left of you will surely end up dead. The back, is
history, and guess what, one way or the other you're history too.”

 

*The content of the letters set forth in this affidavit are reproduced as written and have not

been corrected for grammar or spelling.
 

iL.

Case: 1:09-cr-00115 Document #: 1 Filed: 02/10/09 Page 6 of 15 PagelD #:6

B. June 12, 2008 Letters

On or about June 12, 2008, envelopes were sent to 7 different individuals in Chicago, who

at the time were either elected government officials in the City of Chicago, Cook County or State
of Illinois, or in one instance, a Cook County government employee, Each of the envelopes was
addressed to and received at an address utilized by each individual. The following chart shows the
envelope number, the date it was received, the listed addressee, and the listed return address:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

# | Date Received | Addressee Retum Address

6 | 6/12/2008 Edward Burke World Financial Group, 900
Jorie Blvd., Oak Brook, IL 60523
(“World Financial Address”)

7 | 6/12/2008 John Daley World Financial Address

8 | 6/12/2008 Donna Dunnings World Financial Address

9 | 6/12/2008 Joseph Mario Moreno Sidley Austin Brown & Wood
1 8. Dearborm, Chicago, IL 60603
(“Sidley Address”)

10 | 6/12/2008 James Houlihan Sidley Address

11 | 6/12/2008 Emil Jones Sidley Address

12 | 6/12/2008 John Cullerton: Sidley Address

12. _ Each of these envelopes contained either one or two typed letters and a brown granular

substance enclosed inside the envelope. The brown substance included in each of the letters has
been submitted to the FBI Lab for analysis, but final reports have not been received. Visual
inspection and comparison of the substance conducted by investigators has preliminarily indicated
that the brown substance may be fertilizer. Each ofthe typed letters appeared identical and contained
the following text of:

"We will not be subjected to "city income tax" city or city-founded laws against or reducing
our rights to bare arms, excessive city vehicle stickers that serve no purpose than to legally
steal from us, city or state city-founded laws against right-to-carry which ts aright in 48 other
states, city taxes increased to record highs every year lied to be for schools and all we want
to believe and really used for public spy cameras and Obamas campaign and patronage.
Chicago public spy cameras that invade our privacy and cause infrastructure under funding
to further a tax increasing cycle of lying that as a Chicago increases and collects more tax
that the city gets poorer and needs even more new taxes and increase current taxes and
definitely not the 40% transfer tax that was added in 2008 and is so obviously and add-on for
running Chicago after so much Chicago taxes are wasted on cameras, Obamas campaign,
 

Case: 1:09-cr-00115 Document #: 1 Filed: 02/10/09 Page 7 of 15 PagelD #:7

patronage like Mayor Daleys son Patrick who we may be killing very soon and Todd Strogers
Cousin Donna Dunnings who we hopefully already killed. YOU WANT TO ATTACK US

NOW AS HARD AS POSSIBLE? IT'S PAY BACK*"

Cc. June 13, 2008 Letters

13, On June 13, 2008, envelopes were sent to 3 different individuals in Chicago, who were
affiliated with City of Chicago, Cook County or State of Illinois government. Each of the envelopes
was addressed to and received at an address utilized by each individual. The following chart shows
the envelope number, the date it was received, the listed addressee, and the listed return address:

 

 

 

 

 

 

 

 

 

# | Date Received | Addressee Return Address

13 | 6/13/2008 Rod R. Blogoyvich (sic) | Elmwood Park Village Hall
11 Conti Parkway
Elmwood Park, IL 60707
(“Elmwood Park Address”)

14 | 6/13/2008 Todd Stroger Elmwood Park Address

15 | 6/13/2008 Richard M. Daley Elmwood Park Address

 

14. Each envelope contained at least 1 typed letter, a bag containing a brown granular substance,
and a VHS tape. The contents of these envelopes has not been reviewed because they were submitted
to the FBI Lab for analysis, but final reports have not been received. However, unknown brown
granular substance appears similar to the substance used in previously envelopes.

dD. June 19, 2008 Letters

15, On June 19, 2008, envelopes were sent to 2 different individuals in Houston, Texas, who
were affiliated with petroleum companies. Each of the envelopes was addressed to and received at
an address utilized by each individual. The following chart shows the envelope number, the date it
was received, the listed addressee, and the listed return address:

 

 

 

 

 

 

 

 

# Date Received | Addressee Return Address
16 | 6/19/2008 John Hoffmeister Sidley Address
17 | 6/19/2008 Marvin Odum Sidley Address

 

16. Both envelopes contained one typed letter and one bag of an unknown brown granular
substance. The substance was later submitted to the FBI Lab, but final reports have not been
received. As explained above, this substance appears to be fertilizer. The letters seemed to be
 

 

Case: 1:09-cr-00115 Document #: 1 Filed: 02/10/09 Page 8 of 15 PagelD #:8

identical and contained the following text:

17.

“WE THE PEOPLE are going to do whatever it takes to fucking kill you and your supporters
in retaliation for the way you have used your oil monopoly to fuck the people over for so
long.”

Here IS the NEW SITUATION. WE THE PEOPLE are going to stand up to you and fucking
kill you. [fall went well through the mail, we already killed many of you leaders, hopefully
all married and with kids...”

E. July 11, 2008 Letter

On or about July 11, 2008, a package was sent to the law firm of Linebarger, Guggan,

Blair, & Sampson in Chicago, Illinois. The following chart shows the envelope number, the date
it was received, the listed addressee, and the listed return address:

 

 

 

 

 

 

 

 

# | Date Received | Addressee Return Address
18 | 7/11/08 Linebarger, Guggan, Blair & Sidley Address
Sampson
18. The package contained one typed letter and brown granular substance. The substance was

later submitted to the FBI Lab, but final reports have not been received. However, this substance
is similar to the brown pranular substance included in the letters described above. The letter |
contained the following text:

19.

"This is what you get for blocking the votes needed to recall Rod Blagojavich. He is a piece
of shit who was injected into the highest state office by Mayor Daley for Daley to control all
of Illinois from behind this economy ruining , tax stealing, gangster affiliated rotten excuse
for a Governor who comes from Daleys machine with Daley building him up as governor.
Fuck you and everything you stand for and whoever takes your side, you Chicago
democratic machine pieces of shit!

In case you actually survived you pussy ass bitch liberal Chicago democrat motherfucker,
here is what the future holds. Get out of office or else because we know how to get to you

and we will make sure that even if we don't stick you in the ground like we want to we will
make your stay in office absolute hell”

F. January 16, 2009 Letters

On or about January 16, 2009, envelopes were sent to 3 different individuals in

Chicago, who at the time were either elected government officials in the City of Chicago, Cook
- County or State of Illinois. Each of the envelopes was addressed to and received at an address

 
+

 

 

Case: 1:09-cr-00115 Document #: 1 Filed: 02/10/09 Page 9 of 15 PagelD #:9

utilized by each individual. The following chart shows the envelope number, the date it was

received, the listed addressee, and the listed return address:

 

 

 

 

 

 

 

 

 

 

# Date Received Addressee Return Address

19 1/16/2009 Patrick O'Connor | David Alexrod, Suite 404
AKP Message and Media
730 N, Franklin St., Chicago, IL
(“Axelrod Address”)

20 1/16/2009 Rod Blagojevich Joseph J. Duffy
11 South LaSalle Street, Suite 1200
Chicago, IL
(“Duffy Address”)

21 1/16/2009 Roberto Maldonado | Alexrod Address

20. Each of the envelopes contained one typed letter, a plastic baggy, and a substance that

appeared to be a scented oil or liquid. This substance was later submitted to the FBI Lab,
but final reports have not been received. The letters appeared to be identical and contained the
following text:

“Here is a clearer message just to fully inform you ofthe current situation... PEOPLE DON'T
WANT YOU AROUND! EVERYONE KNOWS WHAT LYING PIECES OF SHIT YOU

ARE BEHIND YOUR TAX-INCREASES AND CHICAGO CULTURE ‘OF YOUR
GREAT WORDS BEING MORE IMPORTANT THAT YOUR REAL CROOKED AND
DAMAGING ACTIONS' AND JUST ABOUT EVERYONE NOT CONNECTED WITH
YOU IS FOR US AND AGAINST YOU . GET THE FUCK OUT OF OFFICE!!!
EVERYONE SEES THROUGH YOU NOW AND ALSO FULLY REALIZES THE
REASON YOU CHICAGO MACHINE DEMOCRATS REALLY HATE GUNS IS
BECAUSE YOU KNOW WHAT YOU INSTILL IN PEOPLE, ESPECIALLY IF AND
WHEN PEOPLE SEE YOU FOR WHAT YOU ARE. YOU HATE OUR GUN RIGHTS
BECAUSE YOU FEAR WE THE PEOPLE OWNING GUNS BECAUSE YOU KNOW
DAMN WELL THAT WE HAVE EVERY SINGLE RIGHT DATING BACK TO 1776
BASED ON WHAT YOU HAVE BEEN DOING TO US INTERMS OF ECONOMIC
ATTACK AND YOUR CHICAGOLAND-ISOLATION CAMPAIGNS AND ATTEMPTS
AGAINST CONSTITUTIONAL RIGHTS BASIC TRUTH AND LOGIC, FOR WE ‘THE
PEOPLE TO FOLLOW YOU, TERRORIZE YOU, ISOLATE YOU, AND FUCKING KILL
yours
 

Case: 1:09-cr-00115 Document #: 1 Filed: 02/10/09 Page 10 of 15 PagelD #:10

G. January 18 to 26, 2009 Letters

21. Between January 18, 2009 and January 26, 2009, an envelope and 6 packages were sent to
7 different individuals, who are either elected officials in the City of Chicago, Cook County or
Tlinois state government or have connections to or employed by one of these entities. The envelope
was addressed to and received at an address utilized by each of the addresses. The following chart
shows the envelope number, the date it was received, the listed addressee, and the listed return
address:

# Date Received Addressee Return Address
22 1/18/2009 Richard M. Daley Axelrod Address
23 1/20/2009 John Daley Axelrod Address
24 1/20/2009 Donna Dunnings Axelrod Address
25 1/20/2009 Todd Stroger Axelrod Address
26 1/21/2009 William Cellini Duffy Address
27 1/23/2009 William Daley Axelrod Address
28 1/26/2009 Edward Burke William Daley Jr.
Suite 3800
Morgan Stanley

4400 South LaSalle Street, Chicago, IL 60605

22. Each ofthese letters contained a shotgun shell with a pull string type popper attached by hot
glue to the shotgun shell primer. The shot gun shell was glued to the envelope and the popper was
attached to blank pieces of paper, contained inside the envelope, by a paper clip (“Shotgun Shell
Device”), It appeared to me and other law enforcement officers, including FBI bomb technicians
and members of the Chicago Police Department Bomb and Arson Unit (“B&A”), that the purpose
of the Shotgun Shell Device was to use the popper to detonate the primer of the shotgun shell, which
was attached to the envelope, when the paper in the envelope was removed. The Shotgun Shell
Device was rendered safe by the Chicago Bomb and Arson Unit and sent to the FBI Lab, but final
reports have not been received.

23, The Shotgun Sheil Device was later reconstructed by B&A officers and the Shotgun Shell
Device failed to detonate on three attempts. However, it was the opinion of the B&A officers that
the Shotgun Shell Device could work with the same materials if minor adjustments were made to
the design. B&A officers also advised me that if the device detonated, it could result in serious
injury to include loss of eyesight, hands or fingers.
 

 

Case: 1:09-cr-00115 Document #: 1 Filed: 02/10/09 Page 11 of 15 PagelD #:11

H. Information From Witness 1

24. Law enforcement learned from Witness 1 that on or about January 26, 2009, Witness 1
received three emails from email address "ronsmailbox2004@yahoo.com. The first words in the
body of cach email was the name "Ron Haddad Junior." An email from
ronsmailbox2004@yahoo.com sent on January 26, 2009, at 3:23 p.m., contained the following
content:

“ONE MAJOR REASON FOR BIG OILS' LATEST ATTACK THAT IT SEEKS TO LEAD
TO $6.00 A GALLON AT THE GAS STATION BY MID-SPRING 2009, IS THAT
GEORGE W. "OIL MAN" BUSH (R) IS FRIENDS WITH THE DALEY MACHINE (D)
AND SINCE SO MUCH OF AMERICA IS ROOTING FOR THE FEDERAL
PROSECUTION AGAINST THE DALEY MACHINE (D), BUSHS' (R) BIG OIL COMES
INTO PLAY TO GET REVENGE ON WE THE PEOPLE FOR "POOR, SWEET,
INNOCENT," BLAGOIOVICH (D) DALEY (D), CELLINI (R) AND THE REST OF THE
CHICAGO SCUM BAG CREW,

_ These other Governors teaving office under pressure means that there is no reason absolutely
why WE THE PEOPLE cannot force these pieces of shit Governor Rod Balgoiovich (D) and
Mayor Richard M. Daley (D) to leave office. Blagoiovich (D) is using DEATH-
DESERVING DEFIANCE to send us some sort of message of strength.

These pieces of shit did not bank on my making 100% justified murder-targets out of their
families INCLUDING CHILDREN-WHICH I DID-WHICH LOWERED OIL AND GAS
PRICES FOR A WHILE, and these pieces of shit thought I faded away and that no one
would even do what I am doing now, publicizing their most important personal vitals and
telling you that if anything else won't phase Big Oil enough to stop these price-attacks on us,
perhaps knifing one of their small children to the wall/ 100% justified and wonderfully
bloody home-invasion-style, will make Big Oil get the message that no matter what happens,
even if Big Oil wins in the end, WE THE PEOPLE will make sure that Big Oils' win will be
so expensive and preferably bloody-against-Big Oil, that win or lose in attacking WE THE
PEOPLE, Big Oil will never, ever, enjoy their win against us and will continue to suffer as
long at they dare fuck with us. Do whatever it takes to roll back these oil prices and get
revenge on Big Oil.”

25. Inthe same email to Witness 1, sent on January 26, 2009, at 3:23 p.m.,
ronsmailbox2004(@vahoo.com provides the names of Marvin Odum and John Hofmiester as
Presidents of Shell Oil. Later in the email the writer states:

“AN IMPORTANT “TACTICAL” FACT TO REMEMBER THAT MAY COME IN SO

HANDY AGAINST BIG OIL, I8 THE STRATEGY USED TOE ELIMINATE THE
SECOND MOST POWERFUL DALEY MACHINE (D) MAN, NOW FORMER

10

 
 

Case: 1:09-cr-00115 Document #: 1 Filed: 02/10/09 Page 12 of 15 PagelD #:12

ALDERMAN BERNARD STONE (D), WHO WAS SUCCESSFULLY DRIVEN OUT OF
OFFICE BY FIRST BEING HIT WITH AN ‘UNKNOWN WHITE POWDER’ LETTER
BOMB REFERRING TO DALEYS’ (D) TAX-HIKES AND CORRUPTION.”

26.  Intwo emails from “ronsmailbox2004(@yahoo.com”, which were sent on January 26, 2009,
at 12:07 a.m. and 12:57 a.m., the writer names a section of both emails "4. CONCLUSION (What
needs to be done AND WHO needs to be done-to finally and honestly set things right)". In these
emails, the writer goes on to list individuals who need to be "KNOCKED OFF." Approximately
12 of the addressees identified above were named in these lists.

27. According to YAHOO! records related to "ronsmailbox2004@yahoo.com" for the time
period in which the emails described above were sent to Witness 1, the IP address used by the sender
of the emaiis was identified as IP address 67.174,85,95.

28, Based on public source documents, I determined that IP address 67.174.85.95 was associated
with Intemet service provider Comcast Cable Communications (“Comcast”).

29, According to Comcast records related to IP address 67,174.85.95, that IP address during the
relevant time frames was used by the following subscriber:

Ronald Haddad
126 Park Avenue
River Forest, Illinois 60305

30.  Areview of records of the Secretary of State of Illinois revealed that on July 25, 2008
HADDAD was issued a driver’s license with an address 126 Park Avenue, River Forest, Illinois.

31. Areview of records of the Illinois State Police revealed that HADDAD was issued a Firearm
Owner Identification Card number (“FOID Card”) with an address of 126 Park Avenue, River Forest,
Illinois. This FOID Card has since been revoked, Based on information from River Forest Police
Department (“RFPD”) officers, HADDAD’s FOID card was revoked at RFPD’s request to the
Illinois State Police Department. RFPD made this request to the Illinois State Police Department
because of HADDAD ’s prior arrest history and an ongoing investigation by RFPD of HADDAD
pertaining to his stalking of a River Forest Police Department officer.

32. River Forest Police Department (“RFPD”) officers confirmed on January 28, 2009 that
HADDAD resides at 126 South Park Avenue, River Forest, Illinois. Several of the RFPD Officers
have known HADDAD and his family for several years.

33, Surveillance conducted by the FBI Joint Terrorism Task Force from January 28 to February
2, 2009, observed HADDAD leaving his residence located at 126 South Park Avenue, River Forest,
Illinois on multiple occasions. Law enforcement agents were able to visually identity HADDAD
based upon a comparison between observations made on surveillance and a picture taken for a

11

 

 
 

Case: 1:09-cr-00115 Document #: 1 Filed: 02/10/09 Page 13 of 15 PagelD #:13

driver’s license issued to HADDAD by the Illinois Secretary of State.

34.  Onmultiple occasions between January 28, 2009 and February 2, 2009, HADDAD was seen
leaving the residence at 126 South Park Avenue driving the following vehicle: 1998 Honda Civic,
Black, IL License Plate 8088091 (“Honda”), According to Illinois Secretary of State records the
vehicle is registered to Priscilla Haddad, who law enforcement believes is HADDAD’s mother.
Based on Illinois Secretary of State records and law enforcement surveillance, law enforcement
believes that HADDAD lives at 126 South Park Avenue in River Forest, Illinois with his father,
Ronald Haddad, and mother, Priscilla Haddad.

I. Summary of Commonalities between Letters, Packages and Emails.

35. Through my review and observation, as well as that of other law enforcement officers
assisting in this investigation, the following similarities arise related to the previously identified
letters and packages (letters and packages numbered 1 through 27 above) and the three emails from

ronsmailbox2004(@yahoo.com to Witness 1:

a. All of the addressee and return address information is printed on white paper and
then cut out and affixed to the envelope or package.

b. Many of the letters and packages above used the same false return address
information. For instance, the Axelrod Address was listed as the return address on
6 letters or packages identified above, including 5 that contained the Shotgun Shell
Device (namely envelopes/packages numbered 19, 22-25, and 27).

c. All of the letters and packages used at least one “Forever” stamp, which is a stamp
issued by the United States Postal Service depicting the Liberty Bell. Many of the
envelopes or packages contained multiple “Forever” stamps.

d. The writer used the words "WE THE PEOPLE" in all three emails and 5 of the
letters referenced above (namely envelopes/packages numbered 16, 17, and 19-21).

€. The words "Daley Machine" appear in all three emails and | of the referenced letters
(namely envelope/package numbered 18).

f. 12 of the addressees that received letters or packages listed above were listed in the
emails as individuals to be "KNOCKED OFF.”

J. Evidence of Prior Threats by HADDAD

36. In approximately November 1999, an investigation was initiated by the FBI,

Washington Field Office, after the National Organization for Women (“NOW”) had reported that

an individual using the screen name "Renegade" was posting threatening comments on the

“Retribution” website, Based on computer records and public source information, law enforcement
12
 

Case: 1:09-cr-00115 Document #: 1 Filed: 02/10/09 Page 14 of 15 PagelD #:14

agents learned that postings were made using a computer or computers located at the computer lab
at Dominican University in River Forest, Illinois (“Dominican”). Renegade advised readers to go
to NOW offices in their area and “repeat columbine shooting” and to use “bleach/ammonia” bombs
on the NOW offices.

37. Based on public information, I learned that on October 18, 1999, “Renegade" posted a
comment on the "Retribution" website. In the comment, Renegade provides instructions on how to
fight back against insurance companies. He writes, "SUGGESTIONS ON HOW TO FIGHT BACK
AGAINST INSURANCE: Do what McVeigh did, blow the fucking home office building up! Do
it when non one is there. State Farm home office is in Illinois so start with that place. WAYS TO
BLOW IT UP: take lots of glass mason jars, fill them with gasoline, tape M-80's or strongest
explosives available and shotgun shells, to jars, throw jars at office building AT NIGHT, go for
windows, main entrance, back where there are electric wires, and if you can, make sure all gasloine
is connected in one trail after jars are used, Light flare or other similar flame-device, throw at
gasoline, haul ass. The explosive blasts and shotguns shell damage will magnify the effects of pure
arson." "Renegade" later instructs his reader how to send threatening letters to the insurance
companies. Part of the advice is to make sure that there are no fingerprints, not to use your return
address and to insure that the letters do not have postmarks from 5 miles within your given area.

38. Subsequently, HADDAD was identified as a suspect of the investigation after
a Dominican campus employee witnessed HADDAD typing on the "Retribution" website, and
HADDAD quickly closed the browser after being approached by Dominican campus security.

39, In approximately November 5, To00, ADDAD was interviewed by the FBI. HADDAD
denied using the screenname Renegade. When HADDAD asked for.a lawyer, FBI agents informed
HADDAD that the interview was completed. HADDAD then indicated that he was sorry for
sending the comments.

40. On rebruary 109, HADDAD was interviewed at his residence concurrent with the
execution of a search warrant for his residence. During the interview HADDAD stated that he was
the user of email address “‘r j 004@yahoo.com.” HADDAD further stated that he had sent
the three emails described above in paragraphs 24-26, HADDAD stated that his emails were “heavy-
handed” and contained violent language because of HADDAD’s opposition to “Big Oil” and “The
Circle.” HADDAD further stated that “Big Oil” and “The Circle,” which he described as corrupt
state and local politicians associated with the Daley Family, were heavy-handed with the American
people.

 

41. HADDAD advised that he wrote the following portion and other comments in the email
described in paragraph 24 to “level the playing field” with Big Oil:

“These pieces of shit did not bank on my making 100% justified murder-targets out
of their families INCLUDING CHILDREN-WHICH I DID-WHICH LOWERED
OIL AND GAS PRICES FOR A WHILE, and these pieces of shit thought I faded
away and that no one would even do what I am doing now, publicizing their most

13
 

 

Case: 1:09-cr-00115 Document #: 1 Filed: 02/10/09 Page 15 of 15 PagelD #:15

important personal vitals and telling you that if anything else won't phase Big Oil
enough to stop these price-attacks on us, perhaps knifing one of their small children
to the wall/ 100% justified and wonderfully bloody home-invasion-style...”

IV. CONCLUSION
42, Based on the facts as stated in this Affidavit, there is probable cause to believe that RONALD
R. HADDAD, JR, committed acts in violation of Title 18, United States Code, Section 844(e).

Accordingly, I respectfully request that the court issue an arrest warrant for RONALD R. HADDAD,
JR.

FURTHER AFFIANT SAYETH NOT.

  

Special Agent Adam B. Scholtz
Federal Bureau of Investigation

   

EFORE ME

14
